     Case 2:14-cr-00152-RMP     ECF No. 767    filed 09/01/20   PageID.8318 Page 1 of 2



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                                                                          FILED IN THE
                                                                      U.S. DISTRICT COURT

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                                                                EASTERN DISTRICT OF WASHINGTON



                                                                Sep 01, 2020
3                                                                    SEAN F. MCAVOY, CLERK



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5                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
6

7     UNITED STATES OF AMERICA,
                                                  NO: 2:14-CR-152-RMP-1
8                              Plaintiff,
                                                  ORDER ON MOTION FOR
9            v.                                   SENTENCE REDUCTION UNDER 18
                                                  U.S.C. § 3582(c)(1)(A)
10    JASON C. YOUKER,
                                                  (COMPASSIONATE RELEASE)
11                             Defendant.

12

13          Upon motion of Defendant Jason C. Youker for a reduction in sentence under

14   18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided in

15   18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

16   Commission, IT IS ORDERED that Defendant’s Motion for Release, ECF No. 752,

17   is DENIED WITHOUT PREJUDICE because the defendant has not exhausted all

18   administrative remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days

19   lapsed since receipt of the defendant’s request by the warden of the defendant’s

20   facility.

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     ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. §
     3582(c)(1)(A)
     (COMPASSIONATE RELEASE) ~ 1
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1          IT IS SO ORDERED. The District Court Clerk is directed to enter this Order

2    and provide copies to Defendant, counsel, and to the U.S. Probation Office.

3          DATED September 1, 2020.

4
                                               s/ Rosanna Malouf Peterson
5                                           ROSANNA MALOUF PETERSON
                                               United States District Judge
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     ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. §
     3582(c)(1)(A)
     (COMPASSIONATE RELEASE) ~ 2
